    Case 15-26471         Doc 55      Filed 01/20/16 Entered 01/22/16 23:51:30               Desc Imaged
                                     Certificate of Notice Page 1 of 3
Form ntcdsm

                                  UNITED STATES BANKRUPTCY COURT
                                        Northern District of Illinois
                                             Eastern Division
                                             219 S Dearborn
                                                7th Floor
                                            Chicago, IL 60604


                                               Case No.: 15−26471
                                                   Chapter: 13
                                            Judge: Jack B. Schmetterer

In Re:
   William E Coffey                                      Lisa M Coffey
   8124 W 91st Place                                     8124 W 91st Place
   Hickory Hills, IL 60457                               Hickory Hills, IL 60457
Social Security / Individual Taxpayer ID No.:
   xxx−xx−9806                                           xxx−xx−6645
Employer Tax ID / Other nos.:


                                            NOTICE OF DISMISSAL



You are hereby notified that an Order Dismissing the above case was entered on January 20, 2016




                                                         FOR THE COURT


Dated: January 20, 2016                                  Jeffrey P. Allsteadt , Clerk
                                                         United States Bankruptcy Court
        Case 15-26471        Doc 55     Filed 01/20/16 Entered 01/22/16 23:51:30             Desc Imaged
                                       Certificate of Notice Page 2 of 3
                                       United States Bankruptcy Court
                                       Northern District of Illinois
In re:                                                                                  Case No. 15-26471-JBS
William E Coffey                                                                        Chapter 13
Lisa M Coffey
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 0752-1           User: mgonzalez              Page 1 of 2                   Date Rcvd: Jan 20, 2016
                               Form ID: ntcdsm              Total Noticed: 35


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 22, 2016.
db/jdb          +William E Coffey,    Lisa M Coffey,    8124 W 91st Place,     Hickory Hills, IL 60457-1943
23561331         ACL,   PO Box 27901,    West Allis, WI 53227-0901
23561332         Advocate Medical Group,    PO Box 92523,    Chicago, IL 60675-2523
23575204      +++Capital One Auto Finance, a division of,     Capital One NA Department,     Ascension Capital Group,
                  P.O. Box 201347,    Arlington, TX 76006-1347
23561337        +Cda/pontiac,    Attn:Bankruptcy,    Po Box 213,    Streator, IL 61364-0213
23561338         Century Ear Nose and Throat,     10660 W. 143rd Street,    Suite B,    Orland Park, IL 60462-1989
23561339      +++Credit Acceptance Corporation,     25505 West 12 Mile Rd Ste 3000,     Southfield, MI 48034-8331
23561341        +David T Cohen & Assoc,    10729 W 159th Street,     Orland Park, IL 60467-4531
23561342       #+Gary Dean,    9 Perusing Ave,    Lake in the Hills, IL 60156-3366
23561343        +Glen Oaks Elementary School,     9045 S. 88th Ave,    Hickory Hills, IL 60457-1297
23561344        +H.H Conrady Jr. High School,     7950 W. 97th Street,    Hickory Hills, IL 60457-2327
23561345         Harris & Harris, Ltd,    111 W. Jackson Blvd,     Suite 400,    Chicago, IL 60604-4135
23561346         High Tech Medical Park,    0236 Momentum Place,     Chicago, IL 60689-5302
23706702        +MCOA,   Village of Justice,    Municipal Collections of America Inc,      3348 Ridge Rd,
                  Lansing, IL 60438-3112
23561348        +Med Busi Bur,    1700 W Cortland St Ste 2,     Chicago, IL 60622-1131
23561349         Medical Business Bureau,    PO Box 1219,    Park Ridge, IL 60068-7219
23561350        +Merchants Cr,    223 W. Jackson Blvd.,    Suite 400,    Chicago, IL 60606-6974
23561351         Midwest Anesthesiologists, Ltd,     3407 Monentum Place,     Chicago, IL 60689-5534
23561352        +Municollofam,    3348 Ridge Road,    Lansing, IL 60438-3112
23561353         Nationwide Credit & Collection,     815 Commerce Dr.,    Suite 270,    Oak Brook, IL 60523-8852
23561355      +++Region Recovery Services Inc,     PO Box 3333,    Munster, IN 46321-0333
23561356        +Sheldon Z. Rubin, DPM,    8100 W. 95th St,     Hickory Hills, IL 60457-1971
23655223      +++TCF National Bank,    David T Cohen and Associates LTD,      10729 W 159th Street,
                  Orland Park, IL 60467-4531
23561357       #+Tcf Mortgage Corporati,    Attn: Legal Dept,     801 Marquette Ave,    Minneapolis, MN 55402-3475
23561358         United Recovery Service,    18525 Torrence Ave,     SuiteC-6,    Lansing, IL 60438
23561359         Village of Justice,    PO Box 6634,    Chicago, IL 60666-0340
23561360        +Vision Financial Servi,    1900 W Severs Rd,     La Porte, IN 46350-7855

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
23561333        EDI: GMACFS.COM Jan 21 2016 01:23:00      Ally Asset Recovery Center,
                 Payment Processing Center,   PO Box 78369,    Phoenix, AZ 85062-8369
23808435        EDI: GMACFS.COM Jan 21 2016 01:23:00      Ally Financial,   PO Box 130424,
                 Roseville, MN 55113-0004
23561334       +EDI: GMACFS.COM Jan 21 2016 01:23:00      Ally Financial,   200 Renaissance Ctr,
                 Detroit, MI 48243-1300
23561335       +EDI: AGFINANCE.COM Jan 21 2016 01:23:00      American General Financial/Springleaf Fi,
                 Springleaf Financial/Attn: Bankruptcy De,    Po Box 3251,    Evansville, IN 47731-3251
23561336       +EDI: CAPONEAUTO.COM Jan 21 2016 01:23:00      Capital One Auto Finance,    3905 N Dallas Pkwy,
                 Plano, TX 75093-7892
23561336       +E-mail/Text: coafinternalbkteam@capitaloneauto.com Jan 21 2016 02:04:09
                 Capital One Auto Finance,   3905 N Dallas Pkwy,    Plano, TX 75093-7892
23561340       +E-mail/Text: clerical.department@yahoo.com Jan 21 2016 01:59:58       Creditors Collection B,
                 755 Almar Pkwy,   Bourbonnais, IL 60914-2393
23561347       +EDI: IIC9.COM Jan 21 2016 01:23:00      IC System,   Attn: Bankruptcy,
                 444 Highway 96 East; Po Box 64378,   St. Paul, MN 55164-0378
23561354       +E-mail/Text: clientservices@northwestcollectors.com Jan 21 2016 02:00:40
                 Northwest Collectors Inc,   3601 Algonquin Rs,    Suite 232,    Rolling Meadows, IL 60008-3143
                                                                                              TOTAL: 9

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                           TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’+++’ were transmitted to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(e).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.
          Case 15-26471            Doc 55       Filed 01/20/16 Entered 01/22/16 23:51:30                         Desc Imaged
                                               Certificate of Notice Page 3 of 3


District/off: 0752-1                  User: mgonzalez                    Page 2 of 2                          Date Rcvd: Jan 20, 2016
                                      Form ID: ntcdsm                    Total Noticed: 35


              ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 22, 2016                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 20, 2016 at the address(es) listed below:
              David H Cutler    on behalf of Debtor 1 William E Coffey cutlerfilings@gmail.com
              David H Cutler    on behalf of Debtor 2 Lisa M Coffey cutlerfilings@gmail.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
              Sandra L. Makowka    on behalf of Creditor   TCF National Bank smakowka@davidtcohenlaw.com,
               mcrawford@davidtcohenlaw.com;jvanheel@davidtcohenlaw.com;cfallara@davidtcohenlaw.com
              Tom Vaughn     ecf@tvch13.net, ecfchi@gmail.com
                                                                                             TOTAL: 5
